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                             IN THE UNITED STATES BANUPTCY COURT

                                        FOR THE DISTRICT OF DELAWAR


In re:                                                            )        Chapter 11
                                                                  )
W. R. GRACE & CO., et aI.,                                        )        Case No. 01-01139 (JK)
                                                                  )        (Jointly Administered)
                                Debtors.                          )


                                              CERTIFICATE OF SERVICE
                   I, James E. O'Neil, hereby certify that on the l~y of                      May, 2008, I caused a

copy of the following documents to be served on the individuals on the attached service list in

the maner indicated:

                 Notice of Filng of Quarterly Fee Application;

                 Twenty-Eighth Quarterly Interim Verifed Application of Kirkland & Ells
                 LLP for Compensation for Services and Reimbursement of Expenses as
                 Bankruptcy Counsel to W.R. Grace & Co., et al., for the Interim Period from
                 January 1,2008 through March 31, 2008; Exhibits A through C.




                                                                                   c¿ l'




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